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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5      UNITED STATES OF AMERICA,
 6                                                             Case No. CR06-5544RBL
                                Plaintiff,
 7                                                      ORDER RE: ALLEGATIONS OF
                         v.                             VIOLATION OF CONDITIONS OF
 8                                                      SUPERVISION
        CHAD ERIC RHODES,
 9                              Defendants.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision under bond.
13              The plaintiff appears through Assistant United States Attorney, Kent Liu.
14              The defendant appears personally and represented by counsel, Linda Sullivan.
15           The U.S. Pretrial Services Office has filed a petition alleging the defendant violated the terms
16   and conditions of supervision by using methamphetamine on or about October 5, 2006, failing to call
     the telephone scheduling system as directed on September 20, 22, 25, 27, 28, 2006, and October 3, 5,
17   6, and 16, 2006, failing to submit to drug/alcohol testing on September 27, 2006, October 3, 2006, and
     October 16, 2006, and associating with Kristine Davis on or before October 17, 2006. The defendant
18   has been advised of the allegations and his right to a hearing and the maximum consequences if found
     to have been in violation. The defendant freely and voluntarily acknowledged the alleged violations.
19         NOW THEREFORE, the court finds the defendant has violated the conditions of his Pretrial
20   Supervision while on release under bond and revokes his bond. The defendant is ordered detained
     without.
21           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
22   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
23                                                       October 23, 2006.
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25                                                       __s/ Karen L. Strombom
                                                         Karen L. Strombom, U.S. Magistrate Judge
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     ORDER
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